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                                       UNITED STATES DISTRICT COURT
                                                   for the
                                          DISTRICT OF NEW JERSEY


Mahmoud Khalil

                            Plaintiff(s),                      REQUEST BY LOCAL COUNSEL
                                                               FOR PRO HAC VICE ATTORNEY TO
           v.                                                  RECEIVE ELECTRONIC
                                                               NOTIFICATION

William P. Joyce, et al                                        Civil Action No. 2:25-cv-01963-MEF-MAH
                            Defendant(s)




           Request is hereby made by local counsel for pro hac vice counsel to receive electronic notifications in the
within matter, and it is represented that:

                1.   An order of the Court granting a motion to appear pro hac vice in the within matter has
                     been entered; and

                2.   If admission was granted after March 1, 2024, the Admission Fee, in the amount of $250,
                     pursuant to L.Civ.R. 101.1(c)(3), has been paid to the Clerk of the Court.


                                                                                          /s/ Naz Ahmad
                                                                                   Signature of Local Counsel


PRO HAC VICE ATTORNEY INFORMATION:

                     Johnny Sidonis
Name:                _______________________________
                     Van Der Hout LLP
Address:             _______________________________
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                     (One email address only)




                                                                                                                 DNJ-CMECF-002 |
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                                           1534




 Instructions for LOCAL COUNSEL for filing:
 1. Select the Case Type (Civil) from the menu bar at the top of your screen.
 2. Click on Notices.
 3. Select the event, Notice of Pro Hac Vice to Receive NEF.
 4. Enter the case for which the Request is being filed.
 5. Select the PDF document to file.
 6. Proofread the docket text.
 7. Submit the Request to ECF by clicking the NEXT button.




                                                                                             DNJ-CMECF-002 |
